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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA, )
                          )
             Plaintiff,   )
                          )
v.                        )                        Case No. CR-20-0008-F
                          )
MANUEL DE LA CRUZ, JR.,   )
                          )
             Defendant.   )

                                            ORDER

         In accordance with the Due Process Protections Act,1 counsel are reminded of
the disclosure obligation of the prosecutor under Brady v. Maryland, 373 U.S. 83
(1963), and its progeny. In particular, “the suppression by the prosecution of
evidence favorable to an accused upon request violates due process where the
evidence is material either to guilt or to punishment, irrespective of the good faith or
bad faith of the prosecution.”2 “[E]vidence is ‘material’ within the meaning of Brady
when there is a reasonable probability that, had the evidence been disclosed, the
result of the proceeding would have been different.”3 A “reasonable probability”
does not mean that the defendant “would more likely than not have received a



1
  The Due Process Protections Act, PL 116-182, [S 1380], effective October 21, 2020, requires
that the parties be informed regarding an amendment to Federal Rule of Criminal Procedure 5. By
this legislation, subsection (f) of the Rule has been redesignated as subsection (g), with new
subsection (f) hereinafter designated as “REMINDER OF PROSECUTORIAL OBLIGATION.”
The amendment serves to remind prosecutors of their obligations to disclose exculpatory evidence
pursuant to Brady v. Maryland, 373 U.S. 83 (1963).
2
    Brady, 373 U.S. at 87.
3
    Cone v. Bell, 556 U.S. 449, 469–470 (2009).
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different verdict with the evidence,” only that the likelihood of a different result is
great enough to “undermine[ ] confidence in the outcome of the trial.”4
         Possible consequences for a violation of this Order may include, but are not
limited to, exclusion of evidence at trial, a finding of contempt, granting of a
continuance, and dismissal of the charges with prejudice.
         DATED this 25th day of January, 2021.




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4
    Smith v. Cain, 565 U.S. 73, 75 (2012).


                                             2
